                 Case 8:17-cv-01955-GJH Document 24 Filed 09/08/17 Page 1 of 1
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_______________________________________________________________________________________________________________________________________

                                                   September 8, 2017

The Honorable George Jarrod Hazel
United States District Court
6500 Cherrywood Ln.
Greenbelt, MD 20770

         Re: Long v. Pendrick Capital Partners II, LLC et al.
         Civil Case No. 8:17-cv-01955-GJH


Dear Judge Hazel,

     Pursuant to the scheduling order filed August 25, 2017, this
letter reports that there is not unanimous consent to proceed before
a United States Magistrate Judge. Further, please take notice of
Counsel’s reporting regarding the other September 8, 2017 deadlines:

    1. Modification of Initial Scheduling Order. Plaintiff’s counsel is
       not aware of any party’s request to modify the initial
       Scheduling Order.

    2. Joint ADR Request. Counsel do not consent to an early
       settlement/ADR conference.

    3. ESI Conference. Counsel do not anticipate any problems
       exchanging ESI.

                                                          Sincerely,


                                                          ____/s/ Ingmar Goldson_____________
                                                          Ingmar Goldson
                                                          The Goldson Law Office
                                                          1734 Elton Rd. Suite 210
                                                          Silver Spring, MD 20903
                                                          igoldson@goldsonlawoffice.com
